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                                                                          FILED
                                                                      [   8 Dq 27 2012    ]
                         UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF CALIFORN                  LERK, u.s. DISTRICT COURT
                                                                      HERN DISTRICT OF CAUFORNIA
                                                                                            DEPUTY


UNITED STATES OF AMERICA,                    CASE NO. 11CR4872-L

                        Plaintiff,
                vs.                          JUDGMENT OF DISMISSAL
MARTHA SOTO DE ORTIZ [2],

                        Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

      an indictment has been filed in another case against the defendant and
      the Court has granted the motion of the Government for dismissal of
      this case, without prejudice: or

      the Court has dismissed the case for unnecessary delay: or

-X-   the Court has granted the motion of the Government for dismissal,
      without prejudice: or

      the Court has granted the motion of the defendant for a judgment of
      acquittal; or

      a jury has been waived, and the Court has found the defendant not
      guilty; or

      the jury has returned its verdict, finding the defendant not guilty:

-X-   of the offense(s) as charged in the Indictment/Information:

      INDICTMENT - 21 U.S.C. 952 and 960 - Importation of Methamphetamine;

      18 U.S.C. 2 - Aiding and Abetting

            IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: April 24, 2012
